                                    UNITED STATES BANKRUPTCY COURT
                                     EASTERN DISTRICT OF MICHIGAN
                                        SOUTHERN DIVISION-FLINT

IN RE:                                                                  CHAPTER 13
                                                                        CASE NO: 17-30358
Shawna Cronk                                                            JUDGE DANIEL S. OPPERMAN
              Debtor(s)
___________________________________/


                                                PAYMENT ORDER

       The above named Debtor(s) having filed a Petition for relief under Chapter 13 of the Bankruptcy Code, and upon
Motion of the Debtor(s),

         IT IS HEREBY ORDERED that Thai Summit America Corporation, Attn.: Payroll, 1480 McPherson Park Dr.,
Howell, Michigan 48843 forward to at the following address: Chapter 13 Trustee – Flint, P.O. Box 2175 Memphis, TN
38101-2175, $27.18 bi-weekly, from the future gross income until the further Order of the Court and that it cease and
desist from giving effect to any prior or future garnishment or assignment of the Debtor’s income except for Order for
child support, or alimony, current withholding taxes, union dues, and all other insurance premiums. Debtor’s Chapter 13
payment shall not be deducted from Debtor’s vacation pay.
                                                            .

Signed on April 19, 2017

                                                                  ____ _/s/ Daniel S. Opperman_    __
                                                                       Daniel S. Opperman
                                                                       United States Bankruptcy Judge




           17-30358-jda      Doc 39     Filed 04/19/17          Entered 04/19/17 11:13:13     Page 1 of 1
